      Case 4:23-cv-04405 Document 19 Filed on 02/26/24 in TXSD Page 1 of 1
                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                   February 26, 2024
                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk

                                HOUSTON DIVISION

RODNEY UNDERWOOD,              §
                               §
    Plaintiff,                 §
VS.                            §                   CIVIL ACTION NO. 4:23-CV-04405
                               §
COMMUNITY LOAN SERVICING, LLC, §
                               §
    Defendant.                 §

                                           ORDER

        Before the Court is the Motion to Dismiss filed by Defendant Community Loan

Servicing, LLC. ECF No. 4. On February 25, 2024, Plaintiff Rodney Underwood filed his

Amended Original Petition. ECF No. 18. Plaintiff’s Amended Original Petition supersedes

Plaintiff’s Original Petition, ECF No. 1, which was the basis of Defendants’ Motion to Dismiss.

The amended pleading renders the Original Petition of no legal effect. King v. Dogan, 31 F.3d

344, 346 (5th Cir. 1994). Therefore, Defendants’ Motion to Dismiss, ECF No. 4, is DENIED

AS MOOT. The Court notes that Defendant is free to make whatever filings it deems

appropriate in response to the Amended Original Petition, as the Court makes no determination

of law as to its sufficiency.

        IT IS SO ORDERED.

        SIGNED at Houston, Texas, on this the 26th day of February, 2024.



                                           __________________________________
                                           HON. KEITH P. ELLISON
                                           UNITED STATES DISTRICT JUDGE
